
Wright, J.
I endeavored to bring to the trial of this cause the utmost care. The actors were all foreigners, Germans on the one side and Englishmen bn the other, and for any thing that appeared by the evidence, of equal respectability and entitled to an equal measure of consideration at the hands of the courts. Through the probably careless discharge of duty by their agent, and his eagerness to obtain risks, the defendants were involved in a litigation for a large sum. The principal defense set up in the pleadings was, that the policy was obtained by fraud. The complaint averred the-issuing, of the policy, the payment of the premium, and the death of Schumacher, upon whose life the insurance was effected, none of which averments were denied by the answer. The answer alleged as new matter, that upon the application to insure, Schumacher was represented as a merchant, a partner with Valton and Martin in business, and a man of large means, which representations were untrue and avoided the policy ; and that the policy was obtained by fraud, and with the fraudulent intent of Martin and Valton, with or without the concurrence of Schumacher, of soon thereafter secreting or otherwise disposing of Schumacher, and making claim under their pretended articles of partnership, on the *25defendants for the amount of the insurance, and that Valton and Martin, or one of them, had secreted or otherwise disposed of Schumacher with such fraudulent intent. It was not pretended in the pleadings that Martin or Valton, or either of them, procured or paid for the policy for their own benefit, and that it was thereby void as being a wager policy. No such issue was presented or hinted at: nor when the case was submitted was there really any competent or sufficient evidence to go to the jury on the question of a fraudulent evasion of the statute against wagers.
It is admitted that upon the issues made by the pleadings, and indeed on the whole case, the questions of fact were properly submitted to the jury; and they have found against the defendants. I anxiously desired on the trial that right only should prevail, and I am still desirous if any error in law has been committed by me, to the prejudice or injury of the defendants, that a new trial should be aw'arded. But I frankly confess that I am not willing or desirous, more in this instance than any other, that the parties should be allowed to present the case to another jury, for the reason only, that mystery, as my brother Harris expresses it, “ still seems to envelop some of its principal features,” or that a shadowy, undefined suspicion of wrong still attaches to it.
It is the opinion of one of the members of the court, that no error was committed in the admission or rejection of evidence, or in the charge or refusal to charge as requested. Another has come to the conclusion that the deposition of Oltman should have been suppressed; that the defendants should have been permitted to prove his declarations made to their agent, as to the circumstances attending the death of Schumacher; and that it was erroneous, under the evidence in the case, to refuse to charge, that if the jury found that Martin or Valton, or either of them, procured or paid for the policy, for their own benefit, though with the assent of Schumacher, it was void, as being a wager policy. The first two objections were but feebly urged on the trial, and the last was not thought of, as being in the ease, until after the jury had been charged, Indeed, had the *26first been allowed, pretty much all of the defendants’ theory of a fraudulent conspiracy to secrete Schumacher and claim the insurance money, would have vanished, for it was upon Oltman’s “marvellously strange” narrative of the death of Schumacher, that the theory was principally based. Under the pleadings, it was not necessary that the plaintiffs should have introduced the deposition of Oltman, for it was only important to prove the death, and that was averred in the complaint, as well as the time at which it occurred, and not so denied in the answer as to put in issue either the fact or the date. These being material allegations, were, for the purposes of the action, to be taken as true. {Code, § 168.) The plaintiffs might have rested their case, on showing the assignment from Martin to the plaintiff Adams, and proving the fact that the required notice had been given to the defendants of the death of Schumacher. But they chose to proceed as though by the pleadings they were put upon proof of all the material allegations in their complaint, and as the case was novel in some of its aspects, and the sum involved . large, I was not disposed to interfere. With the view of substantial justice between the parties a most liberal construction was given to the answer of the defendants. Had the plaintiffs stopped after proving the facts put in issue by the pleadings, leaving to the defendants to establish affirmatively the frauds set up in their answer, there would have been little “ mystery surrounding the case,” and nothing “ peculiar in the character and circumstances of the principal witness.” The defendants would scarcely have made an approach towards establishing the fraud charged in their answer. As it was, not a single fact was affirmatively shown by the defendants, bearing on the issue of a conspiracy between Valton, Martin &lt;fc Schumacher, to' defraud the insurance company by obtaining the policy, and either secreting, kidnapping or murdering Schumacher, that two of the conspirators might claim the moneys secured to be paid by the policy. They relied not on facts proved by themselves, but upon the improbability and inconsistency of the statements of the plaintiff’s witnesses to prove Schumacher’s death. Fraud was to be inferred, riot from facts and circumstances proved legiti*27mately and directly tending to the conclusion, but because the defendants had succeeded in throwing some mystery about the case, and stoutly declared that the principal witness of the plaintiffs to prove Schumacher’s death was not to be credited. Oltman’s deposition, with the testimony of their agent, was all the defendants had on which to go to the jury upon the questions of fraud or false representations. The objection, therefore, to the deposition was feebly put forth, but as the plaintiffs chose to offer it, and insist upon its reception, we are now to say whether there was error in refusing to suppress it.
The case states that upon the deposition of Oltman taken on commission, being offered in evidence, the defendants objected, on the ground that two cross-interrogatories, the first and the ninth, were unanswered in part: and after the deposition had been received and read the same objection was renewed, and exception taken. If this meant any thing definite, it was that the court was asked to suppress the entire deposition on the ground of a partial failure to answer what the defendants’ counsel termed two cross-interrogatories. That which is called the first cross-interrogatory embraced nineteen questions; the ninth, five questions. Which of these numerous questions Oltman had foiled to answer was not pointed out: but the court was left to ascertain from an examination of the interrogatories, and indeed the entire deposition, whether the witness had foiled to tell the whole truth. In what respect the interrogatories were unanswered was not specifically stated. Under these circumstances, and with such an indefinite objection, I should have deemed it an unjustifiable exercise of discretion to have suppressed the deposition. Suppose Oltman had been upon the stand as a witness, and nineteen distinct inquiries had been put to him at one time, and he had attempted to answer all of them: but the defendants’ counsel supposing he had foiled in part, moved to strike out the whole of his testimony, without stating wherein he had foiled: would any judge, under such circumstances, have stricken it out ? I think not. And if not in such case, clearly it could not be justified when the parties join in a commission to examine a witness, and the defendants lie by until the "trial, and *28then surprise their adversary and the court with a vague object tion. But I think that it is only when the officer neglects to put the interrogatories settled, or when the witness refuses to answer, that the commission is deemed to have been imperfectly executed; and the deposition for that reason suppressed. This is as far as any case has gone, in the courts of our state. Can it be when a party unites all sorts of questions in an interrogatory, when there is no neglect of the officer to put them to the witness, and the witness does not refuse to answer, but gives what he and the officer deem a proper and sufficient answer, that the court is called upon, on the trial, to determine as to the pertinency of a part, or the whole, of the interrogatory, and the willful attempt of the witness to evade a full answer, and as these questions shall be found, to receive or suppress the entire deposition ? Let this rule be established, and I venture to affirm that four-fifths of the commissions issued to examine witnesses will be found to be imperfectly executed, and consequently to be suppressed. But-if it be conceded that evading an answer to a pertinent inquiry is sufficient ground to suppress a deposition, and that the refusal to suppress it upon a general objection like this, is available to the defendants, was the objection well taken in this case? It is to be observed that all the plaintiffs proposed to prove by Oltman was the death of Schumacher, and the circumstances attending it. This was the single point to which he was interrogated; and this was a work of supererogation, for as has been remarked, the fact was not put in issue. There were seven direct interrogatories, and four of them related to the witness’ age and occupation, and his previous acquaintance with the parties to the action, and with Schumacher. But this was enough to start the defendants’ counsel on a rambling excursion in search of something on which to build a defense. It is said that the plaintiffs chose to examine the witness on commission, instead of having him in court; and this is put forth as a reason for regarding many of the cross-interrogatories as pertinent. But is this really a fair argument ? The witness remained in the employ of Valton &amp; Martin for six months after Schumacher’s death, and then left the state. *29The plaintiffs could not coerce his personal attendance in court, and to obtain his testimony were driven to a commission. The agent of the defendants knew of Oltman being in Albany in September and October, 1850, and was informed that he was with Schumacher when he was drowned. He accompanied the agent to the office of an attorney, and they examined him critically respecting the circumstances of Schumacher’s death. The agent caused him to be arrested on a charge of conspiracy to defraud the defendants, which charge was dismissed, and he remained in the state for months afterwards. Possessed of all the information derived from an examination of Oltman, the defendants, after this suit was commenced, in April, 1852, joined in a commission to examine him on interrogatories in the state of Indiana. Though the plaintiffs had interrogated him to but a single point, there were sixteen cross-interrogatories proposed, embracing in them nearly two hundred questions, half of which had no relation to Schumacher, or his death, or the circumstances under Avhich he was drowned. Seven of the interrogatories, embracing fifty questions, related to the witness himself, distinct from any connection with or knowledge of Schumacher, the precise place of his birth, who were his parents, the name of his father and his occupation, where he lived, when the witness came to this country, by what route he came, what his occupation was before he left, with whom he lived, the places where he lived, and the persons with whom he pursued his several occupations, who came with him to this country, what had been his occupation each month since his arrival, who he had worked for particularly, the compensation that he had received, and generally every act of his life since his arrival in the United States. Two of the interrogatories related solely to Martin and Valton, embracing thirty-four questions respecting the pedigree of each, their business, how old the witness supposed they were, whether they were ever married, or had any children, and how many. There was but one interrogatory as to the circumstances of Schumacher’s death, and that embraced fifty-three distinct questions. We are told now, that in the first interrogatory, among other things, he was required to state whether he *30pursued one or more occupations before he left Germany, and to describe each particularly, and also the places where, and the persons with whom, he pursued such occupations; and that by his answer he designedly evaded the inquiries. But conceding that these precise inquiries were material and pertinent, was there any design apparent to evade answering ? He was asked what his occupation was before he left Germany, and whether be pursued one or more occupations ; and with whom, and where he lived, before he left. To these inquiries he answered that his occupation, ivas that of clerk in a court of justice; that he lived with his mother, (having previously said that his father had been dead about ten years,) naming the town, county and dukedom; that he followed sometimes the mixing of liquors in Ovelegonne and in Bremen, but did not recollect the names of the persons that he mixed liquors for; that he mixed liquors when traveling, that is, when away from his place of residence. This Avas substantially answering the inquiries, and in a way that a person would ordinarily ansAver them. It is now said that he wholly failed to give the title of the court of justice of which he was clerk, or the place where it Avas held, or the names of the judges, or the persons under whom he acted as clerk. But did the interrogatory as to what occupation he had pursued suggest to the witness that he was to answer as to these things ? Besides, the frame of the interrogatories was calculated to lead the Avitness precisely to the answers given. The first question was as to his occupation. This he answered by stating that it AA'as that of clerk in a court. The next inquiry was whether he pursued one or more occupations ; and this was followed by an inquiry, not as to what occupations he had pursued, but with whom and where he lived before he left; and he was then asked to describe with Avhom and Avhere he lived; and getting back to the question of occupation, the places where, and with whom he pursued such occupations. I confess I can perceive no design to evade ansAvering : but if the defendants have failed to get a full description of the court in Avhich the witness acted as clerk, it Avas not because the witness strove to conceal the information, but because the interrogatory failed to convey to him the idea *31that it was wanted for any purpose. Again; had he evaded answering fully as to the persons with whom he had pursued any particular occupation in Germany, it would have been no ground for suppressing the deposition: nor, had he been upon the stand and refused to answer, for striking out his evidence altogether. The inquiry was in no way pertinent or material. The witness could not be impeached in that way. The determination of the issues in the action did not depend on his “ story” being believed in regard to these collateral and irrelevant matters, nor did it require that the court and jury should be entertained with the history of the witness’ life in its minutest particulars. As well might the plaintiffs’ counsel have insisted that the testimony of the principal witness for the defense, who was also a foreigner, should have been struck out of the case, for failing to answer or evading an inquiry as to his private life before leaving England. It will scarcely be pretended that the deposition of a witness taken on commission is to be wholly suppressed for the reason that there has been a failure to answer fully all the impertinent and immaterial interrogatories that the ingenuity of counsel may suggest.
The ninth cross-interrogatory required Oltman to answer as to the business in which, after May 1850, Martin and Valton were engaged, of whom they bought, and to whom they sold, to state the names of both, and what they bought and sold. Oltman had answered, to previous interrogatories, that after May, 1850, the firm of Valton, Martin &amp; Co. were engaged in the grocery and commission business in Albany; that in July, 1850, he first went into their employ .as porter, remaining until the latter part of August; that this was the first he knew of the firm, that he was then in New York, until the fore part of September, and until after the death of Schumacher, when he returned to Albany, and remained in the employment of the firm as porter until March, 1851. He was then inquired of as to the business Martin &amp; Valton were engaged in after May, 1850, and required not only to describe this, but to name the persons of whom they bought, and to whom they sold. His answer was that he knew nothing of the business of the firm *32until after the forepart of July, 1850. As the interrogatory was of the most comprehensive character, it is not probable that it could have been answered fully by anybody, much less by a mere porter in the store,, of Yalton, Martin &amp; Co. But he might have stated that he had no knowledge respecting the names of those with whom the firm dealt, or all or any of the articles which they bought or sold. But it is said because this was not done that the answer was palpably and intentionally evasive of proper and material interrogatories, (not that there was a refusal to answer,) and that the court should have adjudged such intention and suppressed the deposition. But I do not think so. The business in which Yalton &amp; Martin were engaged after May, 1850, so far as it came under the knowledge of the witness, had been previously given, and he had already stated that he knew nothing of it until July, 1850, nor after March, 1851, It was in no sense pertinent to the issues to be tried, to know with whom Yalton &amp; Martin dealt, or the names of their customers, or to have a specification of the articles which they bought or sold. Besides, if material, these were matters purely collateral and incidental, and in no manner affecting the main point of Oltman’s testimony, and which could without difficulty be proved by other witnesses. But the whole interrogatory was impertinent and immaterial. It was not a ground of defense in the action, either made so by the pleadings or proof, that though Martin and Yalton pretended to be engaged as liquor dealers, their real business was to practice a fraud upon the defendants. The whole proof showed that there was no doubt as to the kind of business in which they were engaged ; and if Martin and Yalton had contemplated this as a mere show, and kept up the farce for eight months after the liability of the ‘defendants had been fixed, if liable at all, it could have been no defense, unless Schumacher had been shown to be connected with the plot to defraud. What Martin or Yalton contemplated or pretended, or what business they were engaged in, apart from Schumacher, was of no importance. Indeed, it was not at all material with whom the firm dealt, or what, particularly, they bought and sold. These inquiries could have no *33bearing upon the question of a conspiracy on the part of Valton, Martin &amp;• Co. to defraud the defendants by procuring the policy, and then murdering or secreting Schumacher, that the surviving conspirators might enjoy the fruits of the diabolical fraud. Had Oltman been on the stand and an interrogatory respecting Martin &amp; Valton alone, so general in its character, and extending beyond the period of Schumacher’s alleged death, been propounded to the witness, I do not think upon his refusing to answer more fully than he did, that I should have been justified in striking out the whole of his testimony. It would have been an unsatisfactory reason for depriving the plaintiffs of the testimony of one of their witnesses because of a refusal to answer an interrogatory as to matters having no direct bearing upon the issues on trial. But still less satisfactory would be the reason, where, as in this case, there was no direct refusal, and whether the witness mistook the tenor of the inquiries or intentionally evaded answering was npt clearly apparent.
I cannot bring my mind to the conclusion that there was any error in refusing to suppress the deposition, that should constrain us to grant a new trial.
2. The agent of the defendants at Albany, and through whom the policy was procured, was put upon the stand as a ■ witness for the defendants, and among other things, testified that on the 7th of September, 1850, he heard of Schumacher’s death; that Martin told him there was a person at the store that could tell him all about" it; that he accompanied Martin to the store and saw Oltman, and asked him how the death occurred. The defendants then offered to show, by the witness, what Oltman said, in the presence of Martin, about the death of Schumacher. The plaintiffs objected to the evidence of Oltman’s declarations, and the objection was sustained. Upon what principle they were entitled to the declarations of Oltman, or to the details of a conversation between their agent and Oltman, the plaintiffs did not inform the court on the trial; and so little confidence had they in the exception, they did not even urge it as a point to be considered on this motion. They had neither attempted nor laid any foundation for im*34peaching the witness by showing contradictory statements made by him as to a material fact. Oltman had not been interrogated respecting the conversation at the store of Valton, Martin &amp; Co. My brother Harris is mistaken in supposing that Oltman had been fully interrogated as to what he had said on that occasion. After the offer was excluded, the defendants’ agent testified that on the afternoon of the same day, Oltman went with him to an attorney’s office, and he was there from an hour and a quarter to an hour and a half; and on his cross-examination he stated that the attorney questioned Oltman first, and then his brother took it up; he (Lacy) took minutes of his testimony, and so did the attorney, and he (Lacy) saw those minutes only a day or two before the trial. In the eleventh cross-interrogatory, Oltman had been asked if he did not make to Lacy or the attorney a statement of the occurrence, and the twelfth cross-interrogatory was directed to some of the particulars of the statement made at the attorney’s office. To this he answered that he did not know what he had stated to them. Oltman, in answering the eleventh interrogatory, said that he first saw the defendants’ agent in the store of the firm; that he asked him some questions, and then told him he was going to take him before the insurance company for examination ; and he did take him to the attorney’s office; but Oltman did not attempt to state the conversation at the store, or declare his want of recollection of the questions propounded to him on that occasion, or the answers' given. Indeed, from the form of the offer it is quite apparent that the defendants’ counsel supposed that the evidence was admissible, not because a foundation had been laid by previous interrogation of Oltman, to show that he had made contradictory statements, but because Martin was present at the time the declarations were made; and they did not even offer to show that Martin heard the conversation, or that though present, he must, from his position, necessarily have heard it. The offer was in the most general form, and nothing was stated to show the relevancy of the proposed proof. Under such circumstances, I cannot see that there is a reasonable ground, nowT, for imputing error in excluding the offered evi*35dence of Oltman’s declarations. (Fairchild v. Case, 24 Wend. 381, 384.)
3. The defendants’ counsel submitted eleven distinct propositions, with the request to charge each as proposed. The court refused to charge upon all the propositions in the form presented, except in respect to the first proposition. The fourth request was, that if the jury should find that Martin and Valton, or either of them, procured or paid for this policy, for their or either of their benefit, though with the assent of Schumacher, then the policy was void, as being a wager policy. This the judge declined to charge, and I think he might safely have put his refusal upon the ground that there was no question of the kind in the case. The answer of the defendants did not allege or set up any matter or thing, showing the policy to have been void under the statute against wagers; nor was it pretended that Martin and Valton, or either of them, procured or paid for the policy, for their benefit, with the assent of Schumacher; even if the proof of those facts would have made it a gambling or wagering policy within the statute. There was no proof except a feeble effort of the defendants’ agent, evidently thought of long after the transaction occurred, to give it such a coloring, that Martin or Valton, or either of them, were the persons really effecting the insurance, and not Suhumacher, or that Schumacher was put forward by Martin as the mere instrument through whom the statute against wagers might be evaded. Even this effort conflicted with all the other evidence in the case, written or unwritten, with the acts of the defendants, and even of the agent himself. There was no sufficient evidence to warrant the jury in finding that either Martin or Valton, with the assent of Schumacher, procured the policy for the exclusive benefit of either. Indeed, the evidence showed a state of facts directly hostile to this theory. Schumacher was the person with whom the defendants contracted, and the legal presumption is that the policy was for his benefit, and not for that of any other person. He had an insurable interest in his own life. Ho use by him of the policy, subsequent to the contract of insurance, could convert it into a wager policy. If valid in *36its inception he might dispose of it as he pleased. I do not understand that there can he a wager policy within the statute, V -unless the contract of insurance is made with a party who has ) no insurable interest in the life insured ; and that the term can t never apply when the policy is issued to the party whose life is ) insured, and when thus the contract is made directly with him./' (Peake’s Nisi Prius Cases, 150. Godsal v. Bolden, 9 East, 72. Lord v. Dall, 12 Mass. R. 115.) Schumacher being the person with whom the defendants dealt, (and they assumed not to deal with any other,) he had confessedly an insurable interest, and no arrangement for the future disposition of the policy, made with a third party, either before or after it was obtained, certainly not afterwards, could make it a wager policy. Martin or Yalton might have contemplated the securing of a subsequent interest in the policy, but- if Schumacher was at all interested at the inception of the contract, such contract could not be void, for the reason that the statute against wagering had been violated. Schumacher, at the time the policy was procured, may have possessed but small means; Martin may possibly have advanced the money for the payment of the first premium, but if it were so, the defendants contracted with Schumacher ; he Was exclusively the party insured. The policy was made in whole or in part for his benefit. It was optional with him whether Martin or Yalton should ever have any interest in it; and indeed, by subsequent arrangement, they were excluded, from all interest, except upon the happening of the contingency , of Schumacher’s dying unmarried, during the continuance of the copartnership, It was manifestly, therefore, no wager policy. To have made it such, Martin or Yalton, without any pecuniary interest in Schumacher’s life, must have insured it, for their exclusive benefitj and it is even doubtful—the policy not having been issued to or the contract made with them—whether the defendants could avoid this contract upon the ground that it • ^ was prohibited by the statute against wagers. In the case of Wainwright v. Bland, (1 Mood. &amp; Rob. 481; same case, 1 Meeson &amp; Welsby, 32,) the policy was issued in the name of Helen F. P. Abercrombie, who was an orphan, and - resided *37with the plaintiff, a near relative. Her only means of subsistence was an annual pension of ten pounds. At the trial, it clearly appeared that the policy was effected by her, by the persuasion and for the benefit of the plaintiff and his wife, who was the half sister of the assured ; and that the premiums were paid by the plaintiff. At her first attendance at the company’s office, with Mrs. Wainwright, she represented that the insurance was intended to secure a sum of money to her sister, which she should be able to do if she outlived the term of two years ; and that on being asked by the actuary whether she had effected insurances with any other office, she answered, “ I wish to insure £5000, but as your office only takes £3000, I shall propose £2000 to some other office.” It was proved that she had previously effected insurances, with various offices, all of them for a period of two years only, to the amount in the whole, of £11,000. On being informed subsequently, by the actuary, that the directors were much displeased at her not answering his former question in a straightforward way, she said, “I know very little of the business myself; I do as my friends direct me.” She died suddenly, some two months after effecting the insurance, having by her will bequeathed the benefit of her policies to her sister, and appointed the plaintiff her sole executor. The plaintiff, as her executor, swore her personal property not to exceed £100 ; and it was proved that she was in fact in indigent circumstances, and without the means of paying the premiums. Lord Abinger left it to the jury to say, first, whether the assurance was effected by the deceased bona fide for her own benefit, or as the agent of Wainwright; secondly, whether the false representations made by Miss Abercrombie related to a matter material to be known by the defendants as insurers. The jury found that she effected the insurance as the plaintiff’s agent, and for his benefit, and that the false representations were on material points; and a verdict was thereupon entered for the defendants. On the motion for anew trial, in the court of exchequer, the rule was refused, on the ground that the policy was avoided by the false representations, both Lord Abinger and Parke, B. conceding there was doubt on the other *38point. So that in a case baldly showing that the insurance had not been effected bona fide by the person whose life was insured, for her own benefit, and where the jury found that she acted in obtaining the policy, not for herself, but as the agent of another, and for his benefit, it was doubted whether the policy was thereby avoided. The court was unwilling to rest its decision on this ground, or to hold that a person cannot insure his own life, for the benefit of another who has no insurable interest, and who himself pays the premium; or that a contract made and a policy effected under those circumstances, falls within the statute against wagers, and that such a contract and policy may be avoided. ' Our statute does not define what shall be a wagering policy, but in terms inhibits courts from construing it so as • to include within its operation “insurances made in good faith for the security or indemnity of the party insured,” and that the section declaring void all contracts for or on account of any money or property or thing in action, wagered, bet or staked,” might not receive too enlarged a signification, expressly, by a succeeding section, provides that it shall not be extended so as to prohibit or in any way affect insurance contracts made in good faith, for the security or indemnity of the insured party. The statute nowhere declares that only insurance contracts of the latter description shall be valid. The mischief against which it was exclusively°aimed was wagering, “ made to depend upon any gaming by lot or chance, or upon any lot, chance, casualty, or unknown or contingent event whatever,” (1 22. &amp;1. 662, §» 8,10.) It is only when an insurance contract falls within j the category of a mere wager or bet—a simple gaming adven- j ture—that the statute can even by construction apply. It is a i question of legal construction always, whether an, insurance , contract comes within the purview of the statute against betting \ and gaming. Courts have held that where A. insures the life ® of B., having no pecuniary or other insurable interest in such life, it is a gaming transaction merely, and being forbidden, any contract for or on account thereof is void; but it has never been adjudged (at least no such case has come under my knowledge,) that where a party insures his own life, even for the benefit of *39another, the latter advancing the money to pay the premium, such contract is void for the reason that the statute against betting and gaming has been violated. Nor have I ever before heard it pretended that the insurer could avoid his contract made with the person whose life was insured, and who had an unquestionably insurable interest, because the latter chose to insure for the benefit of a friend, even though that friend advanced the premium, and may have urged the making of the contract; and this too upon the ground exclusively of an alleged-evasion of the statute against wagers. In Lord v. Dall, (12 Mass. R. 115,) a brother contracted with an underwriter, giving his own note for the premium, and took the policy in the name of his sister, and for her benefit. She was a person of no property, and at the time of the insurance was entirely dependent for subsistence on her brother. Yet it was not pretended that the policy was void for the reason that it was procured and paid for by the brother. But a question was raised, which was one of law purely, whether she had an interest in the subject matter insured, else otherwise, as was said by the court, it would be a mere wager policy.
It is to be observed, that in the case at bar the fact was assumed by the defendants’ counsel, that Martín &amp; Yalton had no insurable interest in the life of Schumacher, (an assumption not sustained by the evidence,) and assuming this, the judge was asked to instruct the jury that if they should find that they, or either of them procured or paid for this policy, (that is, the one on Schumacher’s life, and which the evidence of the defendants showed that he had applied for and obtained,) for their or either of their benefit, though with the assent of Schumacher, then the policy was void as being a wager-policy. The request was, substantially, that the judge should charge the jury that either the procurement of the policy by Martin &amp; Yalton, for their benefit, or the payment of the premium by them, with the assent of Schumacher, constituted the policy which had been applied for by and issued to the latter, a wager policy, and rendered it void. In the face of the defendants’ own evidence that Schumacher applied in writing for the policy, that *40it was issued to him, and that the defendants receipted the premium as being paid by him, I was asked to submit the question of fact to the jury whether Martin &amp;. Valton, or either of them, had procured or paid for the policy for their joint or separate benefit, there being no evidence whatever connecting Valton with its procurement, and none really connecting Martin, except the fact alleged by the defendants’ agent, that Martin- originally suggested the insurance, and accompanied Schumacher when the application was made, and when he was examined by the defendants’ examining physician. And further I was asked to allow the jury to speculate on the question whether Martin &amp;* Valton did not really pay the premiums, because the defendants’ agent had sworn that Martin had handed him the money, and a hotel keeper had testified that Schumacher proposed at one time, in New York, to have Valton become responsible for his board; though it was shown that the premium for the second quarter, which Lacy testified that he understood had been left at his house by Martin, in his absence, had come from Schumacher himself. And further, permitting the jury to roam in the region of conjecture and speculation, should they finally conclude that the whole thing was a device of Martin &amp; Valton to obtain an insurance upon Schumacher’s life, with his assent, for their benefit, I was to instruct them that the policy issued to Schumacher was, in law, a wager policy, and being void, their verdict must be for the defendants. Either the procurement of the policy or the payment of the premiums, if they or either of them contemplated a benefit from the insurance, according to this theory, made the transaction a forbidden wager, and the instrument issued to Schumacher ipso facto a wager policy.My brother, Harris, is not inclined to go to the extent of holding that, in law, it would be what has been heretofore denominated a wager policy ; but he thinks the transaction would be palpably an attempt to evade the statute against betting and gaming, and for that reason the jury should have been told that the policy was to be avoided. But if this were the law, (of which I entertain grave doubts,) I was not requested thus to instruct the jury. If the question had been upon an evasion of *41the statute, there would have been still a further question of fact for the jury to find, viz: an intention of the assured to evade it.
The policy issued to Schumacher, and upon which the action was brought, was in no legal sense a wager policy. Nor, had the jury found the facts that it was issued to Schumacher by the procurement of Martin or Valton, for their exclusive benefit, or that the premiums were paid by them, would it have been invalid. Besides, there was no competent evidence in the case to sustain such a finding, or to justify the court in submitting the question of an attempt to evade the law against wagers. No such issue was made by the pleadings, and none such was tried. It is quite probable that Schumacher, at the time of effecting the insurance, was possessed of but little means. It required but little, as the quarterly premium was less than seventy dollars. It may be • that Martin urged the making of the contract, and aided in its successful completion; but after all, the insurance was effected by Schumacher, not as the agent of Valton &amp; Martin, and for their exclusive benefit, but for the benefit, in part at least, of the party whose life was insured. It is not very difficult, from the evidence, to discover the motive which induced the making of the contract. Martin, Valton and Schumacher proposed to form a partnership in the business of liquor dealers. The two former alone possessed capital to any extent; but Schumacher’s services were required, as he was skillful in what is termed mixing liquors. He, though advancing no capital, was to share equally in the profits, from the beginning. In lieu of capital, and as a security or indemnity to his copartners, an insurance was effected on his life; and with the understanding that if he should die. unmarried, during the continuance of the copartnership, the benefit of the policy should go to the survivors of the firm. Martin and Valton were men with families ; Schumacher was single. If he married, his co-partners were to take no benefit from the insurance. He was young and healthy ; and as the defendants’ examining physician certified, “ a good risk,” and one which he recommended them to accept. The defendants’ agent was eager to obtain the risk, *42and abated not a jot, though believing Schumacher, from his dress and demeanor, to be the porter, and not a partner in the firm. The defendants took the risk, and received the first quarterly premium. In August, 1850, another premium was received, which extended the policy to thelSth of November, 1850; and there is no reason to suppose, from the conduct and acts of the agent, that had Schumacher survived to the latter period, there would then have been any attempt to repudiate the contract, or that he would not have receipted the premium, then payable by its terms. But Schumacher, as was alleged, was drowned in September, 1850, and while the policy was in force ; and from thenceforth the defendants refused to perform their contract, doubting the death of Schumacher, but if dead, alleging as a principal reason for refusal, not that it was a wager policy, or that the statute against wagers had been intentionally evaded—not that in fact it was the policy of Martin &amp; Valton, though issued to Schumacher, and hence void in its inception; but that it had been procured by fraud. The jury found that Schumacher was drowned in September, 1850, and that the .policy was not procured by fraud. They found in favor of the plaintiffs upon all the issues made by the pleadings. That verdict is not against evidence, and though the amount in controversy be large, the defendants should be held to their contract. No vague suspicion of unfairness should induce a struggle on our part, after the issues of fact have been adjudged in favor of the plaintiffs, to search out some legal “ loop hole,” through which the defendants may get the case to another jury.
With an anxious desire to correct any error of law that I may have committed on the previous trial, I have not been able to persuade myself that those suggested by my brother Harris, were errors. I shall, therefore, vote for denying a new trial.
Watson, J., concurred.
